             Case 3:20-cv-05057-BHS Document 59 Filed 12/03/20 Page 1 of 3




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5
                                                             The Honorable Benjamin H. Settle
6
                               UNITED STATES DISTRICT COURT
7                             WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
8
     Jo Anna Lang, PR of the estate of Dick Lang,        NO. 3:20-cv-05057-RBL
9    Wife and Husband, adoptive parents of C.L.,
     a minor child and R.L., a minor child, Jo           NOTICE OF WITHDRAWAL
10   Anna Lang, guardian ad litem, for C.L. and
     R.L.,                                               (CLERK’S ACTION
11                                                       REQUESTED)
                Plaintiffs,
12
        v.
13
     STATE OF WASHINGTON,
14   DEPARTMENT OF SOCIAL AND
     HEALTH SERVICES, (DSHS) CHILD
15   PROTECTIVE SERVICES, (CPS), Kaylena
     Gonzalez, individually and MARK AUSTIN
16   GONZALEZ and as a marital community,
     Pamela Williams, individually, and Alan
17   Robert Evans individually and as a marital
     community, Jennifer White and John DOE
18   White individually and as a marital
     community, Laura Caruso, John Doe Caruso,
19   individually and as a marital community;
     Sarah Coshow, and John DOE Coashow,
20   individually and as a marital community,
     Janelle E. Redmond and JOHN DOE
21   Redmond, individually and as a marital
     community, Larraine Martinez, and JOHN
22   DOE Martinez, individually and as a marital
     community, Beth A. Kutzera, and JOHN
23   DOE Kutzera, individually and GLENN T.
     KUTZERA as a marital community, J. Aaron
24   Merino, and JOHN DOE Merino; Jaimee
     Scheffler, individually and JOHN DOE
25   Scheffler as a marital community, and, Office
     of the Attorney General, State Agency,
26   Danial Hsieh, AAG, and Vancouver Police


        NOTICE OF WITHDRAWAL --                      1            ATTORNEY GENERAL OF WASHINGTON
                                                                              Torts Division
        NO. 3:20-cv-05057-RBL                                          800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104-3188
                                                                             (206) 464-7352
             Case 3:20-cv-05057-BHS Document 59 Filed 12/03/20 Page 2 of 3




1    Department, and Cowlitz County Sheriff's
     Department, and Eimiko Murlin and Jeff Ian
2    Murlin, individually and as a marital
     community were foster parents of C.L., and
3    Steve Vallembois, Jimmy Howard, Foster
     parents for R.L., individually, and Kimberly
4    Copeland, MD, Legacy Salmon Creek
     Medical Center,
5                Defendants.
6    TO:     Jo Anna Lang, PR of the estate of Dick Lang, Wife and Husband, adoptive parents of
             C.L., a minor child and R.L., a minor child, Jo Anna Lang, guardian ad litem, for C.L.
7            and R.L., PLAINTIFFS
8    TO:     KEVIN JOHNSON, PLAINTIFF’S ATTORNEY
9    TO:     CLERK OF THE COURT
10           YOU AND EACH OF YOU will please take notice that EARL SUTHERLAND, Assistant

11   Attorney General, hereby withdraws as counsel for State of Washington, Department of Social and

12   Health Services, Child Protective Services, Kaylena Gonzalez, Mark Austin Gonzalez, Pamela

13   Williams, Jennifer White, Laura Caruso, Sarah Coshow, Jay Redmond (incorrectly identified as

14   Janelle E. Redmond), Lorraine Martinez (incorrectly identified as Larraine Martinez), Beth A.

15   Kutzera, J. Aaron Merino, Jaimee Scheffler, Daniel Hsieh (incorrectly identified as Danial

16   Hsieh), Eimiko Murlin, Jeff Ian Murlin, Steven Vallembois (incorrectly identified as Steve

17   Vallembois), James Vallembois (incorrectly identified as Jimmy Howard), in the above-entitled

18   action, effective immediately.

19           DATED this 3RD day of December, 2020.

20                                       ROBERT W. FERGUSON
                                         Attorney General
21
                                         s/Earl M. Sutherland
22                                       EARL SUTHERLAND, WSBA No. 23928
                                         Assistant Attorney General
23                                       Office of the Attorney General – Torts Division
                                         800 Fifth Avenue, Suite 2000, Seattle, WA 98104
24                                       Earl.Sutherland@atg.wa.gov
                                         TEL: (206) 464-7352 / FAX (206) 587-4229
25

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        NOTICE OF WITHDRAWAL --                       2               ATTORNEY GENERAL OF WASHINGTON
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                                                                             Seattle, WA 98104-3188
                                                                                 (206) 464-7352
             Case 3:20-cv-05057-BHS Document 59 Filed 12/03/20 Page 3 of 3




1                                      CERTIFICATE OF SERVICE
2           I hereby certify that on December 3, 2020, I electronically filed the foregoing document
3
     with the Clerk of the court using the CM/ECF system which will send notification of such filing
4
     to the following:
5
      Kevin L. Johnson, P.S.                         Daniel G Lloyd
6     Attorney & Counselor at Law                    Vancouver City Attorney's Office
      1405 Harrison Ave NE, Suite 204                PO Box 1995
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10    ANDREW BIGGS                                   Patrick McMahon
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      Attorneys for Kimberly Copeland, Legacy
19    Salmon Creek Medical Center, MD

20
                                         ROBERT W. FERGUSON
21                                       Attorney General

22                                       s/Earl M. Sutherland
                                         EARL SUTHERLAND, WSBA No. 23928
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